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                                   No. 2021-2348
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      United States Court of Appeals
                        for the Federal Circuit

  LKQ CORPORATION, KEYSTONE AUTOMOTIVE INDUSTRIES, INC.,
                                        Appellants,
                                             v.
             GM GLOBAL TECHNOLOGY OPERATIONS LLC,
                                       Appellee.
                       _______________________________________
                 Appeal from the United States Patent and Trademark Office,
                    Patent Trial and Appeal Board in No. IPR2020-00534
            (JJ. Scott A. Daniels, Grace K. Obermann, and Christopher G. Paulraj)


          EN BANC OPENING BRIEF OF APPELLANTS
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CLAIM

The ornamental design for a vehicle front fender, as shown and described.




                 FIG. 1                                   FIG. 2




                 FIG. 3                                   FIG. 4
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                                                                     03/23/2023



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2021-2348
   Short Case Caption LKQ Corporation, et al. v. GM Global Technology Operations LLC
   Filing Party/Entity LKQ Corporation



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        03/23/2023
  Date: _________________                   Signature:    /s/ Barry F. Irwin

                                            Name:         Barry F. Irwin
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                                                 52      Page: 4
                                                               2      Filed: 08/14/2023
                                                                             03/23/2023



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                             July 2020


     1. Represented                        2. Real Party in            3. Parent Corporations
         Entities.                             Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).              Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of             Provide the full names of       Provide the full names of
 all entities represented              all real parties in interest    all parent corporations
 by undersigned counsel in             for the entities. Do not        for the entities and all
 this case.                            list the real parties if        publicly held companies
                                       they are the same as the        that own 10% or more
                                       entities.                       stock in the entities.

                                       ✔ None/Not Applicable
                                       ☐                               ☐ None/Not Applicable

       LKQ Corporation                                                           None

Keystone Automotive Industries, Inc,                                       LKQ Corporation




                                          Additional pages attached
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                                                                    3   Filed: 08/14/2023
                                                                               03/23/2023



FORM 9. Certificate of Interest                                                             Form 9 (p. 3)
                                                                                               July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
           None/Not Applicable                                Additional pages attached

            Reid Huefner                         Margaret Herrmann




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
           None/Not Applicable                                Additional pages attached
  LKQ Corp., et al. v. GM Global Technology
Operations LLC, Fed. Cir. Case No. 2022-1253




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔        None/Not Applicable                                Additional pages attached
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                      STATEMENT OF RELATED CASES

      There have been no other appeals in or from the Patent Trial and Appeal Board

(“PTAB”)’s decision in IPR2020-00534 (concerning U.S. Design Patent D797,625

(“the ’625 Patent”)) before this or any other appellate court. Case No. 2022-1253,

an appeal from the PTAB’s decision in PGR2020-00055, is stayed pending this

decision and will be directly affected by the Court’s decision on this appeal.

                                 INTRODUCTION

      “Throughout this Court’s engagement with the question of obviousness, our

cases have set forth an expansive and flexible approach [to obviousness] . . . [W]hen

a court transforms [a] general principle into a rigid rule that limits the obviousness

inquiry, as the Court of Appeals did here, it errs.” KSR Int’l Co. v. Teleflex Inc., 550

U.S. 398, 415-19 (2007).

      While the Supreme Court wrote those words in a utility patent case, they apply

equally to design patents. As with utility patents, the U.S. Constitution and the

Patent Act prohibit design patents on ordinary innovations. U.S. Const., art. I, § 8,

cl. 8; 35 U.S.C. §§ 103, 171(b). The fundamental principles established to ensure

that those constitutional and statutory prohibitions are adhered to also apply to

design patents. Yet, the rigid rule set out by the Court of Customs and Patent

Appeals in In re Rosen, 673 F.2d 388 (C.C.P.A. 1982) (“Rosen”), and the additional

structure established by this Court in Durling v. Spectrum Furniture Co., Inc., 101



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F.3d 100, 103 (Fed. Cir. 1996) (“Durling”), are incompatible with the expansive and

flexible approach to obviousness that KSR mandates, and instead impose rigid rules

that limit the obviousness inquiry prohibited by KSR. Rosen prevents the finder of

fact from even looking at the relevant prior art unless there is a single reference

having design characteristics which are “basically the same” as the claimed design.

Durling, 101 F.3d at 103 (quoting Rosen, 673 F.2d at 391). This is a rigid rule that

permits patents on obvious designs to be obtained and enforced. And even if there

is a single reference that satisfies Rosen’s rigid rule, Durling precludes consideration

of secondary references unless they are “so related to the primary reference that the

appearance of certain ornamental features in one would suggest the application of

those features to the other.” Durling, 101 F.3d at 103. This is another rigid rule that

permits patents on obvious designs to be obtained and enforced, and an even more

stringent variation of the “teaching-suggestion-motivation” requirement rejected by

KSR. The Rosen-Durling framework is inconsistent with the Constitution, Supreme

Court precedent, and the Patent Act, and it should be set aside. Otherwise, as

evidenced by this case, design patents on obvious subject matter will persist.

                            QUESTIONS PRESENTED

      A.     Does KSR International Co. v. Teleflex Inc., 550 U.S. 398 (2007),

overrule or abrogate In re Rosen, 673 F.2d 388 (C.C.P.A. 1982), and Durling v.

Spectrum Furniture Co., Inc., 101 F.3d 100 (Fed. Cir. 1996)?



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      B.     Assuming that KSR neither overrules nor abrogates Rosen and Durling,

does KSR nonetheless apply to design patents and suggest the court should eliminate

or modify the Rosen-Durling test? In particular, please address whether KSR’s

statements faulting “a rigid rule that limits the obviousness inquiry,” 550 U.S. at

419, and adopting “an expansive and flexible approach,” id. at 415, should cause us

to eliminate or modify: (a) Durling’s requirement that “[b]efore one can begin to

combine prior art designs . . . one must find a single reference, ‘a something in

existence, the design characteristics of which are basically the same as the claimed

design,’” 101 F.3d at 103 (quoting Rosen, 673 F.2d at 391); and/or (b) Durling’s

requirement that secondary references “may only be used to modify the primary

reference if they are ‘so related to the primary reference that the appearance of

certain ornamental features in one would suggest the application of those features to

the other,’” id. at 103 (quoting In re Borden, 90 F.3d 1570, 1575 (Fed. Cir. 1996))

(internal alterations omitted).

      C.     If the court were to eliminate or modify the Rosen-Durling test, what

should the test be for evaluating design patent obviousness challenges?

      D.     Has any precedent from this court already taken steps to clarify the

Rosen-Durling test? If so, please identify whether those cases resolve any relevant

issues.




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      E.     Given the length of time in which the Rosen-Durling test has been

applied, would eliminating or modifying the design patent obviousness test cause

uncertainty in an otherwise settled area of law?

      F.     To the extent not addressed in the responses to the questions above,

what differences, if any, between design patents and utility patents are relevant to

the obviousness inquiry, and what role should these differences play in the test for

obviousness of design patents?

                           FACTUAL BACKGROUND

      The PTAB first found that LKQ was likely to prevail on both its anticipation

and obviousness arguments.       Subsequently, relying upon essentially the same

evidence, the PTAB reversed its position and found that LKQ failed to show that its

primary reference anticipated the claimed design, and that it was not close enough

to initiate the obviousness inquiry.

      LKQ argued in its Petition that GM’s D797,625 Patent (“the ’625 Patent”)

was invalid as anticipated or obvious in light of Lian alone or (to the extent an

express teaching of a rounded wheel arch and termination of the fender above the

rocker panel was necessary) in combination with the closely related 2010 Hyundai

Tucson fender as disclosed in photographs in a prior art Hyundai promotional

brochure (“Hyundai Tucson”). Appx0134-0218. Images of the claimed design,

Lian, and the Hyundai Tucson are presented below:



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 ’625 PATENT                 LIAN                   TUCSON
CLAIMED DESIGN         PRIMARY REFERENCE       SECONDARY REFERENCE




                        Appx0450, FIG. 4               Appx0464
Appx0063, FIG. 2
                       (cropped, annotated)        (cropped, rotated)




                        Appx0449, FIG. 1               Appx0462
Appx0064, FIG. 3
                       (cropped, annotated)        (cropped, flipped)




                        Appx0451, FIG. 5               Appx0462
Appx0064, FIG. 4
                       (cropped, annotated)        (cropped, flipped)




                                5
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      ’625 PATENT                   LIAN                     TUCSON
     CLAIMED DESIGN           PRIMARY REFERENCE         SECONDARY REFERENCE




                                Appx0452, FIG. 6                Appx0453
    Appx0063, FIG. 1
                               (cropped, annotated)         (cropped, flipped)


Appx1134 (LKQ Reply at 30). LKQ’s Petition was supported by the testimony of

James M. Gandy, a former Design Patent Practice Specialist for Technology Center

2900 at the United States Patent and Trademark Office (USPTO), and Jason C. Hill,

an expert automobile designer. Appx0294-0418.

      GM submitted a Preliminary Response advancing most of the arguments and

alleged distinctions it later relied upon in its Patent Owner’s Response.

Appx0694-0742. Specifically, GM argued that LKQ’s claim construction was

deficient, that LKQ inappropriately defined the ordinary observer, and that because

of an alleged crowded field the ordinary observer would focus on every difference

between the design and the prior art. Appx0704-0729.

      The Board, in its Institution Decision, Appx0778-0813, considered and

rejected GM’s arguments and determined that its “comparison of the ’625 design

and Lian [was] consistent with LKQ’s claim charts and analysis as supported by


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[LKQ’s experts].” Appx0800 (Institution Decision at 23). The Board further

considered and rejected each of the distinctions GM attempted to draw between Lian

and the claimed design as to both anticipation and obviousness. In its anticipation

analysis, the Board found:

             the creases, bends, and folds in the panel, although
             arguably dissimilar when analyzed in minute detail, those
             features do not appear as particularly different when
             considering the designs as a whole.

Appx0805 (Institution Decision at 28).

      Nevertheless, in its Final Written Decision, the Board concluded that LKQ

failed to discern the correct overall visual impression of the claimed design and that

LKQ had not identified an appropriate primary reference as required by Rosen and

Durling. Appx0050-0051. As a result, the Board terminated the obviousness

inquiry and did not consider the other references identified by LKQ. Appx0058.




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                         SUMMARY OF THE ARGUMENT

       The U.S. Constitution and the Patent Act prohibit patents on obvious subject

matter. For more than fifty years1 this restriction was undermined in the utility patent

context by the application of the “teaching-suggestion-motivation” (“TSM”) test,

which precluded courts from finding a utility patent obvious over a combination of

prior art references unless there was a specific teaching, suggestion, or motivation

in the prior art for the prior art references to be combined. Similarly, in the design

patent context, the restriction on obtaining patents on obvious subject matter has

been undermined by Rosen’s even more stringent requirement that the patent

challenger identify a primary reference that is “basically the same” as the claimed

design and further by Durling’s rule that a patent challenger can only modify that

primary reference with prior art that is so related to the primary reference that the

appearance of certain ornamental features in one would suggest the application of

those features to the other.

       In KSR, the Supreme Court rejected rigid rules used to undermine the

obviousness inquiry as inconsistent with Supreme Court precedent and the Patent

Act. Thus, KSR implicitly abrogated Rosen and Durling as it makes no sense to

interpret the same prohibitions as permitting rigid rules limiting application of those



1
  KSR, 550 U.S. at 418 (citing Application of Bergel, 292 F.2d 955, 956–57 (C.C.P.A. 1961), as
first establishing the requirement of demonstrating a teaching, suggestion, or motivation to
combine known elements in order to show that the combination is obvious).

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prohibitions in one context, but forbidding rigid rules limiting application of those

prohibitions in the other when there is no constitutional or statutory basis for doing

so. Alternatively, to the extent KSR did not implicitly overrule or abrogate Rosen

and Durling, this Court should find that the principle of KSR, rejection of rigid

limitations on the obviousness inquiry, leads to the conclusion that the Rosen-

Durling test should be eliminated because it is even more rigid than the TSM test

that KSR overruled.

      This Court should further find that the appropriate test for design patent

obviousness is the expansive and flexible approach prescribed by Graham and

refined by KSR, applied in the manner that approach was intended to be applied: that

is, to determine whether, in light of the facts and evidence, a person having ordinary

skill in the art would have found the claimed design obvious. The approach

prescribed by Graham and KSR is relevant to evaluating whether designs are

obvious. Further, applying that approach will not increase confusion or uncertainty

in an otherwise settled area of the law because the Rosen-Durling test is itself rife

with confusion and uncertainty. And, even if eliminating the Rosen-Durling test

would create uncertainty, the rigid rules of Rosen and Durling should still be

eliminated because they permit design patents on obvious subject matter in

contravention of the Constitution and the Patent Act.




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                                    ARGUMENT

A.    KSR ABROGATED ROSEN AND DURLING.

      Although KSR did not expressly overrule either Rosen or Durling (and indeed

had no opportunity to do so), those cases are no longer good law because the limits

they impose are incompatible with the fundamental principles underlying the

obviousness analysis as set forth in KSR. See KSR., 550 U.S. at 415. The Supreme

Court in Graham explained that the Constitution forbids patents on obvious subject

matter. See Graham v. John Deere Co. of Kansas City, 383 U.S. 1, 6 (1966). That

constitutional limitation applies equally to utility and design patents because the

authority for both arises from the same constitutional clause. U.S. Const., art. I, § 8,

cl. 8. And, that “clause is both a grant of power and a limitation,” which precludes

patents from being allowed on non-innovative subject matter. Graham, 383 U.S. at

5-6. The statutory requirement of nonobviousness, 35 U.S.C. § 103, also applies

equally to utility patents and design patents, as the Patent Act makes plain on its

face. 35 U.S.C. §171(b).

      The Supreme Court in KSR held that obviousness cannot be limited by rigid

rules but must instead be based on a flexible and expansive inquiry. KSR, 550 U.S.

at 415 (“Throughout this Court’s engagement with the question of obviousness, our

cases have set forth an expansive and flexible approach inconsistent with the way

the Court of Appeals applied its TSM test here.”); see also id. at 419 (“Helpful



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insights, however, need not become rigid and mandatory formulas; and when it is so

applied, the TSM test is incompatible with our precedents.”). The Rosen-Durling

framework epitomizes the sort of rigid rules KSR rejected.

      1.     Patents for Obvious Subject Matter are Constitutionally and
             Statutorily Prohibited and the Fundamental Principles Employed
             to Ensure that Prohibition is Satisfied Apply Equally to Design and
             Utility Patents.

      In Graham, the Supreme Court explained that prohibiting patents on obvious

subject matter was necessary to satisfy the constitutional mandate that patents

“promote the Progress of * * * useful Arts.” Graham, 383 U.S. at 5-6, (quoting U.S.

Const., art. I, § 8, cl. 8). For nearly two centuries, the Supreme Court has held that

constitutional mandate prohibits patents on subject matter within the ingenuity and

skill of an ordinary artisan.     Graham, 383 U.S. at 11-12 (citing Hotchkiss v.

Greenwood, 52 U.S. 248 (1850)); see also KSR, 550 U.S. at 427 (“the results of

ordinary innovation are not the subject of exclusive rights under the patent laws.

Were it otherwise patents might stifle, rather than promote, the progress of useful

arts.”) (citing U.S. Const., art. I, § 8, cl. 8). However, the Rosen-Durling test permits

patents on designs which result from ordinary innovation and thus violates this

constitutional mandate.

      Section 103 of the Patent Act also prohibits patents on obvious subject matter

and applies equally to both design and utility patents. 35 U.S.C. § 171(b); Durling,

101 F.3d at 103 (“To obtain [a design patent], however, one must satisfy the


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patentability requirement of 35 U.S.C. § 103.”); In re Nalbandian, 661 F.2d 1214,

1216 (C.C.P.A. 1981) (“That § 103 applies to designs follows from 35 U.S.C.

§ 171”). Section 103 forbids granting of a patent if “the differences between the

claimed invention and the prior art are such that the claimed invention as a whole

would have been obvious before the effective filing date of the claimed invention to

a person having ordinary skill in the art to which the claimed invention pertains.”

35 U.S.C. § 103. Yet, the Rosen-Durling test permits patents even though the

claimed invention would have been obvious to a person of ordinary skill in the art

and thus violates the statutory prohibition.

      This Court (and its predecessor) has recognized that judicial interpretations of

Section 103 setting forth the fundamental principles of the obviousness analysis in

the context of utility patents are equally applicable to design patents:

             in view of the statutory requirement that patents for
             designs must be evaluated on the same basis as other
             patents, the test of Graham must be followed.

Nalbandian, 661 F.2d at 1217 (emphasis added); see also Titan Tire Corp. v. Case

New Holland, Inc., 566 F.3d 1372, 1384-85 (Fed. Cir. 2009) (“Design patents, like

utility patents, must meet the nonobviousness requirement of 35 U.S.C. § 103, and

it is not obvious that the Supreme Court necessarily intended to exclude design

patents from the reach of KSR.”). Indeed, the Supreme Court has said as much. See




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Smith v. Whitman Saddle Co., 148 U.S. 674, 679 (1893) (quoting Northrup v. Adams,

12 O.G. 430 (E.D. Mich. 1877); citing Foster v. Crossin, 44 F. 62 (D.R.I. 1890)):

             the law applicable to design patents ‘does not materially
             differ from that in cases of mechanical patents, and ‘all the
             regulations and provisions which apply to the obtaining or
             protection of patents for inventions or discoveries * * *
             shall apply to patents for designs.’

                                          …

             The shape produced must be the result of industry, effort,
             genius, or expense, and new and original as applied to
             articles of manufacture. The exercise of the inventive or
             originative faculty is required, and a person cannot be
             permitted to select an existing form, and simply put it to a
             new use, any more than he can be permitted to take a
             patent for the mere double use of a machine.

      2.     KSR Rejected Rigid Rules that Limit the Obviousness Inquiry.

      KSR reiterated the “expansive and flexible approach to the obviousness

question” prescribed by Graham, and it rejected the use of rigid rules to limit that

inquiry. KSR, 550 U.S. at 415 (citing Graham, 383 U.S. at 18). KSR did not just

abrogate this Court’s rigid application of a TSM test, but it abrogated any approach

to the obviousness inquiry that imposed rigid rules. See KSR, 550 U.S. at 422 (“What

we hold is that the fundamental misunderstandings identified above led the Court of

Appeals in this case to apply a test inconsistent with our patent law decisions.”). See

also id. at 427-28 (“In rejecting the District Court’s rulings, the Court of Appeals




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analyzed the issue in a narrow, rigid manner inconsistent with § 103 and our

precedents.”).

      That KSR did not specifically cite or mention Rosen or Durling is not

dispositive. KSR rejected an approach and thus abrogated all cases insofar as they

practiced that approach.    Cases reiterating the rigid approach to obviousness

embodied by the TSM test that were not named in KSR but nonetheless were

abrogated by KSR include In re Dembiczak, 175 F.3d 994, 999-1000 (Fed. Cir.

1999); In re Rouffet, 149 F.3d 1350, 1355-58 (Fed. Cir. 1998); In re Fine, 837 F.2d

1071, 1074 (Fed. Cir. 1988); In re Geiger, 815 F.2d 686, 688 (Fed. Cir. 1987); and

ACS Hosp. Sys., Inc. v. Montefiore Hosp., 732 F.2d 1572, 1577 (Fed. Cir. 1984).

See also McNeil-PPC, Inc. v. Perrigo Co., 516 F. Supp. 2d 238, 247-48 (S.D.N.Y.

2007), aff’d, 274 F. App’x 899 (Fed. Cir. 2008) (recognizing that KSR had abrogated

the TSM test, and as a result, abrogated the corresponding portions of Rouffet and

ACS Hosp. Sys.).

      The Supreme Court has made clear that it can abrogate even its own prior

holdings by implication. See, e.g., Hudgens v. N.L.R.B., 424 U.S. 507, 518 (1976).

This Court has also acknowledged that the Supreme Court can implicitly overrule

its decisions. Ideker Farms, Inc. v. United States, 71 F.4th 964, 988 n.11 (Fed. Cir.

2023) (“Precedent is not ironclad until the Supreme Court explicitly says

otherwise”); Troy v. Samson Mfg. Corp., 758 F.3d 1322, 1326 (Fed. Cir. 2014)



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(citing Miller v. Gammie, 335 F.3d 889, 899 (9th Cir. 2003) (en banc)). Such an

intervening decision may be controlling even if the issues are not identical if the

intervening decision “undercut the theory or reasoning underlying [this Court’s

prior] precedent in such a way that the cases are clearly irreconcilable.” Troy, 758

F.3d at 1326. “[L]ower courts are bound not only by the holdings of higher courts’

decisions but also by their mode of analysis.” Id. At 1326 (citing Antonin Scalia,

The Rule of Law as the Law of Rules, 56 U. CHI. L. REV. 1175, 1177 (1989)) (cleaned

up).

       3.    Rosen and Durling Impose Rigid Limitations that are
             Irreconcilable with KSR and, Thus, Should be Deemed Abrogated
             by KSR.

       KSR prescribed a clear approach to obviousness: eschew rigid rules, evaluate

the Graham factors—the scope and content of the prior art, the differences between

the claimed invention and the prior art, the level of ordinary skill in the art, and

secondary indicia of nonobviousness—and flexibly inquire into those considerations

that bear upon the determination of whether a person having ordinary skill in the art

would have found the claimed invention obvious. KSR, 550 U.S. at 415-16. The

Rosen-Durling test is the antithesis of KSR’s mandated flexible and expansive

inquiry and is even more rigid than the TSM rule rejected by KSR. Both Rosen and

Durling impose rigid prerequisites and limitations on how obviousness may be

analyzed. Thus, both are irreconcilable with KSR.



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      As Judge Stark observed, “if a design patent challenger fails to identify a

Rosen reference, the obviousness analysis stops.” J. Stark Concurrence, Dkt. 48,

ECF 30. The Rosen reference requirement thus denies courts “the opportunity to

consider other factors that often drive the analysis in utility patent obviousness

cases” and “appears to prevent consideration of the ordinary designer’s creativity, at

least in cases like the one before us now.” Id. It is difficult to imagine a more rigid

rule than “if you don’t have the Rosen reference, we don’t look at the prior art.” Dkt.

42, Hearing Recording at 15:40-15:50 (Judge Clevenger, describing the Rosen rule).

      Finally, Durling’s limitation of secondary references to those “so related” in

visual appearance to the primary reference imposes an additional, rigid limitation.

And that limitation is even narrower than the TSM test that KSR overruled. Rosen

and Durling epitomize the rigidly restrictive and limiting approach to obviousness

that KSR later rejected. Rosen and Durling are thus irreconcilable with KSR and its

prescribed flexible and expansive mode of analyzing obviousness and should be

deemed abrogated. Again, it makes no sense to interpret the same prohibitions as

permitting rigid rules limiting application of those prohibitions in one context, but

forbidding rigid rules limiting application of those prohibitions in the other when

there is no constitutional or statutory basis for doing so.




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B.    THIS COURT SHOULD ELIMINATE THE ROSEN-DURLING TEST.

      KSR reflects the Supreme Court’s unbroken emphasis on a flexible inquiry

and contextual consideration of the knowledge and skills of a person with ordinary

skill in the relevant art when determining what would have been obvious. The

Constitution, Supreme Court precedents, and the Patent Act demand that same

approach in the context of design patents. The Rosen-Durling test epitomizes the

opposite: an inflexible framework that, at each step, is even more rigid than TSM.

The Rosen-Durling test improperly extends the patent monopoly to subject matter

that would have been obvious to an ordinary designer. Thus, even if not legally

abrogated by KSR, the Rosen-Durling test should be eliminated as contrary to the

constitutional mandate, the Patent Act, and the fundamental principles set forth in

Graham and KSR.

      1.    Each Step of the Rosen-Durling Test is Rigidly Limiting and
            Inflexible, and Should Not Survive KSR.

      The Rosen-Durling test imposes rigid limitations on the obviousness inquiry.

Specifically, the Rosen-Durling test (1) precludes any consideration of the

knowledge and skills of the ordinary designer or the teachings of any secondary

reference unless a near-identical primary reference exists; and (2) prohibits

modification of that near-identical primary reference unless the modification

appeared in a secondary reference that would have suggested that modification to




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the ordinary designer. Each of these steps, even taken alone, is more restrictive than

the TSM test that KSR rejected and should be eliminated for the same reasons.2

                    a.     Rosen’s Primary Reference Requirement is Rigidly
                           Limiting and Inflexible.
      Rosen’s rule that obviousness cannot even be analyzed without first

identifying a primary reference that is “basically the same” as the claimed design is

the antithesis of the “expansive and flexible” inquiry called for by KSR and Graham.

This Court should eliminate that rule because, as shown below, it represents an even

more rigid limitation than the TSM test rejected in KSR.

                           i.      The Rosen Reference Requirement Precludes
                                   Analysis of the Graham Factors and KSR
                                   Considerations Unless a Near-Identical Prior Art
                                   Reference Exists.

      Under Rosen, the court must first analyze and compare a single prior art

reference to the claimed design and make its own “instinctive” determination as to


2
  The Rosen-Durling test also arguably requires another rigid rule: that the challenger
correctly describe the features of the claimed design in words (even though that has
no bearing on whether the claimed design was obvious to an ordinary designer).
Indeed, the PTAB panel majority treated a failure to present a satisfactory verbal
claim construction as a reason to immediately terminate the obviousness inquiry.
See Appx0050-0051, Final Written Decision at 50-51. “If that is a correct
understanding of our caselaw, … it would certainly be an additional rigidity reserved
only for design patents. No one would argue, I think, that KSR or our obviousness
standards for utility patents hold that an obviousness challenge fails at the point at
which the challenger proposes an incorrect claim construction.” J. Stark
Concurrence, Dkt. 48, ECF 31, n. 5. As the Court did not inquire as to whether this
aspect of Rosen-Durling should be eliminated, LKQ does not discuss it in this
section.

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whether that single prior art reference is “basically the same” as the claimed design.

Durling, 101 F.3d at 103 (“In comparing the patented design to a prior art reference,

the trial court judge may determine almost instinctively whether the two designs

create basically the same visual impression”) (emphasis added). And, until it finds

a Rosen reference, the court cannot even consider the level of skill in the art, the

teachings of other prior art references, or objective indicia of obviousness or

nonobviousness, much less the considerations articulated by KSR that the Court

stated were properly considered when analyzing the broader question of whether the

claimed design would have been obvious to an ordinary designer.

      The Rosen rule has no basis in law, flouts the constitutional and statutory

prohibition on patents covering obvious subject matter, and conflicts with the

Supreme Court’s command that obviousness be determined through an evidence-

based analysis of what an ordinary designer would have found obvious. See KSR,

550 U.S. at 417-18 (explaining the principles underlying prior Supreme Court

obviousness decisions and linking all of them to what would have been within the

knowledge, skill, or creativity of a person having ordinary skill in the art). See also

J. Stark Concurrence, Dkt. 48, ECF 30 (That rule denies courts “the opportunity to

consider other factors that often drive the analysis in utility patent obviousness

cases” and “appears to prevent consideration of the ordinary designer’s creativity, at

least in cases like the one before us now.”). Id.



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                           ii.      The Rosen Reference Requirement is More Rigid
                                    than the TSM Test Overruled by KSR.

      Like this Court’s now-abrogated TSM rule, the Rosen reference requirement

was intended to prevent hindsight bias. Rosen, 673 F.2d at 391 (emphasizing the

need to consider whether the availability of all of the elements of a design in the

prior art would have made their combination obvious to a designer, and requiring

comparison with “something in existence—not with something that might be

brought into existence by selecting individual features from prior art and combining

them, particularly where combining them would require modification of every

individual feature …”) (quoting In re Jennings, 182 F.2d 207, 208 (C.C.P.A. 1950)).

However, even if Rosen captured a helpful insight, that cannot justify the rigid rule

it created. The Supreme Court in KSR held that when a court transforms that insight

“into a rigid rule that limits the obviousness inquiry, … it errs.” KSR, 550 U.S. at

419. As with TSM cases, this Court, in applying Rosen, “drew the wrong conclusion

from the risk of courts and patent examiners falling prey to hindsight bias. … Rigid

preventative rules that deny factfinders recourse to common sense … are neither

necessary under our case law nor consistent with it.” KSR, 550 U.S. at 421.

      Indeed, Rosen’s requirement of a single reference is far more rigid than the

requirement the Court rejected in KSR. The TSM test applied to cases where two

(or more) references had to be combined, and it demanded “‘some motivation or

suggestion to combine the prior art teachings’ [] be found in the prior art, the nature


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of the problem, or the knowledge of a person having ordinary skill in the art.” Id. at

407. The Supreme Court nevertheless believed that test was too rigid because it did

not permit a thorough analysis of what a person of ordinary skill in the art would

have found obvious. Rosen goes even further. It prohibits even looking to secondary

references (or even the ordinary designer’s own skill or common sense) for such a

teaching, suggestion, or motivation to modify the primary reference unless the

primary reference is basically the same as the patented design.

                   b.      Durling ’s Requirement That the Primary Reference
                           May Only be Modified by Secondary References that
                           are “So Related” is Rigidly Limiting and Inflexible.
      This Court should also eliminate Durling’s requirement that even if there is a

primary reference that is “basically the same” as the invention, the primary reference

may only be modified based on the teachings of prior art that is “so related to the

primary reference that the appearance of certain ornamental features in one would

suggest the application of those features to the other.” Durling, 101 F.3d at 103.

The “so related” requirement is a more rigid application of the teaching-suggestion-

motivation test applied to design patents and accordingly conflicts directly with KSR.

See, e.g., Dkt. 48 at ECF 30 (Stark, J.) (“Additional rigidity that might not be

appropriate in a post-KSR world arguably exists at step two of the Durling test”).

      The “so related” requirement limits potential secondary references to only

those bearing similar visual appearances to the primary reference.           However,



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obvious design changes are not limited to those that appear in “so related” prior art

references. See Mark Bartholomew, Nonobvious Design, 108 IOWA L. REV. 601,

645-46 (2023) (noting several references a designer may have taken into account

when designing a new beverage pouch). In this case, the undisputed evidence

showed that automobile designers do not just look to visually similar designs when

doing routine design modifications; they draw from a wide variety of sources that

may, especially to a lay person, look different or seem unrelated in appearance. See,

e.g., Appx0372-0373 (automobile design expert Mr. Jason C. Hill explaining that

designers “can and do look to many sources for inspiration for design,” and that it is

“common during the design process to keep images, both of automotive origin and

other items, at the ready for a reminder of what the style of the final product could

be.”). Indeed, ordinary designers do not even need to rely upon specific sources to

do routine design modifications.         See Appx1302, Appx1332-1336 (Reply

Declaration of Jason C. Hill). But in the absence of a specific “so related” reference,

Durling Step Two would have prevented consideration of evidence explaining why

the use of a commonly employed rounded wheel arch was obvious, and that

terminating the fender above the rocker panel was a matter of routine design choice.

Durling Step Two thus further divorces the obviousness analysis from what an

ordinary designer would, in fact, have found obvious in a manner directly rejected

by KSR and should be eliminated.



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      2.     The Rosen-Durling Test Extends the Patent Monopoly to Designs
             that Would Have Been Obvious to an Ordinary Designer in
             Contravention of the Principles Espoused by KSR.

                    a.     The Rosen-Durling Test Reduces the Ordinary
                           Designer to an Automaton.
      The Rosen-Durling test, and in particular the Rosen reference requirement and

the restriction on combining prior art references, improperly limits courts from

evaluating the ordinary designer’s ability to exercise her knowledge and creativity,

or even perform the basic duties of a designer. As a result, the Rosen-Durling test

permits design patents that claim subject matter that would have been obvious to an

unshackled designer of ordinary skill in the art.

      In fact, the Rosen-Durling test reduces the ordinary designer to a mere

automaton in direct contravention of KSR. See KSR, 550 U.S. at 421 (“A person of

ordinary skill is also a person of ordinary creativity, not an automaton.”). As noted,

under Rosen the obviousness inquiry cannot even begin without first identifying a

prior art reference that is “basically the same” as the claimed design. Rosen, 673

F.3d at 391. Only references that differ in minimal ways from the claimed design

are considered appropriate Rosen references. See Sarah Burstein, Moving Beyond

the Standard Criticisms of Design Patents, 17 STAN. L. TECH. REV. 305, 325 (2013)

(noting that this Court in Apple v. Samsung rejected the primary reference, even

though it was extremely similar to the claimed design and created “almost identical

visual impressions” to one observer). Thus, Rosen prejudges the “ordinary designer”


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to be so incapable that nothing beyond minimal changes to something that already

exists could ever be obvious to them, reducing the ordinary designer to the very

automaton prohibited by KSR.

      Durling further restricts even the minimal modification that the Rosen

reference requirement permits by prohibiting consideration of secondary references

that modify the Rosen reference unless that modification appears in a secondary

reference that is “so related to the primary reference that the appearance of certain

ornamental features in one would suggest the application of those features to the

other.” Durling, 101 F.3d at 103. As shown above, this limitation is an even more

restrictive version of the rejected TSM test, and it suggests that the ordinary designer

is capable of nothing more than replicating features from similar designs. Thus,

Durling’s “so-relatedness” requirement further diminishes the ordinary designer’s

capabilities in further direct contravention of KSR’s directives and principles.

                    b.     The Rosen-Durling Test is Inconsistent with the
                           Supreme Court’s Analysis in Whitman Saddle.
      In addition to being incompatible with KSR, the Rosen-Durling test, and

especially its Rosen reference requirement, conflicts with the Supreme Court’s

decision in Whitman Saddle. In that case, the Court concluded that the combination

of halves of two different saddle designs would not be patentable, even though

neither of those two saddles would have been similar enough to the claimed saddle

to be considered ‘basically the same.’ Whitman Saddle, 148 U.S. at 680-81; see also


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Sarah Burstein, Visual Invention, 16 LEWIS & CLARK L. REV. 169, 201 (2012) (“in

Whitman Saddle, there was arguably no primary reference because neither reference

had “basically the same” overall appearance as the claimed design.”). Under the

Rosen-Durling test, the Supreme Court in Whitman Saddle would not have even

been able to commence an obviousness inquiry, much less use the threat of invalidity

as a foil to focus the infringement analysis to a single design feature (as it did). See

Whitman Saddle, 148 U.S. at 682. Thus, the Rosen-Durling test is inconsistent with

the sole Supreme Court case analyzing design patent obviousness.

                    c.     The Rosen Reference Requirement                     Reduces
                           Obviousness to an Anticipation Analysis.
      Rosen’s requirement of a single prior art reference that is “basically the same”

as the invention collapses obviousness into anticipation. A design is anticipated if

it is substantially the same as a single prior art design; under Rosen-Durling, only a

single reference the design characteristics of which are “basically the same” as the

claimed design initiates the obviousness inquiry. See High Point Design LLC v.

Buyer’s Direct, Inc., 621 F. App’x 632, 636 (Fed. Cir. 2015). The substantive

requirements for anticipation (substantially the same) and obviousness (basically the

same) thus end up being essentially equivalent, except for the purportedly different

perspective (the ordinary observer for anticipation, and the designer of ordinary skill




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for obviousness).3 Indeed, depending on the trial judge’s instinct, “basically the

same” may require closer similarity than “substantially the same.” Thus, any

reference sufficiently close to the patent to trigger an obviousness inquiry under

Rosen should also anticipate it.

                    d.     The Rosen-Durling Test Hinders the Courts’ and the
                           USPTO’s Ability to Enforce the Prohibition Against
                           Design Patents on Obvious Subject Matter.
      The Rosen-Durling test interferes with the USPTO’s and the courts’ ability to

reject and invalidate design patents on obvious subject matter, allowing obvious

design patents to proliferate. This contravenes the Constitution, the statute, and

KSR’s mandates. 35 U.S.C. § 103; KSR, 550 U.S. at 415-16.

      The USPTO almost never rejects design patent applications on prior art

grounds. Dennis Crouch, A Trademark Justification for Design Patent Rights, 24

HARV. J. L. TECH. at 19 (2010) (calculating that only 1.2% of design patent

applications receive prior art-based rejections and observing that this “contrasts with

the ordinary course for utility patent applications—the vast majority of which are

initially rejected based on prior art grounds.”); see also Dunstan H. Barnes, Design



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  If that difference of perspective might otherwise put some daylight between the
two standards, the current standard for evaluating a primary reference eliminates the
perspective: trial court judges are invited to determine “almost instinctively”
whether the claimed design is “basically the same” as the prior art design. That
“instinctive” determination cannot realistically be said to embody the perspective of
the designer of ordinary skill.

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Patent    Rejections—Update,        BIGPATENTDATA            (Apr.     14,       2019)

(www.bigpatentdata.com/2019/04/design-patent-rejections-update) (recreating and

updating Professor Dennis Crouch’s 2010 study and finding that only 2.1% of design

patent applications received rejections based on prior art). Indeed, Professor Crouch

found that design patents were granted in over 90% of applications, a rate far higher

than for utility patents. Crouch, at 18. It is highly unlikely that the difference in

grant rates can be explained on the ground that the applied-for designs are so much

more creative and innovative than the inventions for which applicants sought utility

patents. The more likely explanation for this discrepancy is that the USPTO is

issuing design patents for routine and ordinary designs because it is virtually

impossible to sustain an obviousness rejection under current law.            See Sarah

Burstein, Is Design Patent Obviousness Too Lax?, 33 BERKELEY TECH. L. J. at

608-610 (2018) (questioning the nonobviousness of designs for a sheet of labels, an

exhaust pipe, and a door hinge, depicted below):




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The “USPTO’s sub silento [sic] abdication of its gatekeeper function in the realm of

design patents,” Crouch at 19, is a reflection of the fact that the current law “makes

it nearly impossible for the USPTO to reject most design patent claims—no matter

how banal, trivial, or uncreative.” Burstein, 33 BERK. TECH. L. J. at 624.

      And, because of Rosen-Durling, design patent challengers have not fared well

in challenging design patents. As scholars have noted, design patent challenges only

rarely surmount the Rosen reference requirement to reach Durling’s “so related”

requirement (Durling Step Two). When they do, the Rosen reference is often nearly

identical to the claimed design. See Burstein, 33 BERK. TECH. L. J. at 616 (“In recent

years, however, it has become rare for courts to even reach step two because the

Federal Circuit has required such a high degree of similarity at step one.”). See also

Sarah Burstein, Moving Beyond the Standard Criticisms of Design Patents, 17 STAN.

L. TECH. REV. 305 (2013):

             the identification of a proper “primary reference”[] is
             particularly important. If there is no primary reference,
             then the design patent cannot be invalidated as obvious.
             Recently, however, the Federal Circuit has been making
             it increasingly difficult for anything to qualify as a
             proper primary reference. For example, in the first Apple
             v. Samsung appeal, the Federal Circuit held that the
             reference shown below was not a proper primary reference
             …:




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            Although these designs are not identical, they are
            extremely similar. But, according to the Federal Circuit,
            they are not similar enough.

            So, under the current law, the bar for invalidating a design
            patent under § 103 is quite high. If the Federal Circuit
            continues to require such a high degree of similarity … ,
            § 103 will bar few—if any—designs from patentability.

Id. at 324-26 (emphases added) (citations omitted).

      And, design patent challenges succeed at a far lower rate than utility patent

challenges. In U.S. District Courts, between 2008 and 2020, design patents were

invalidated only 11.6% of the time; at the International Trade Commission, between

2011-2020, design patents were invalidated only 5% of the time; and in the Patent

Trial and Appeal Board, since 2013, design patents are invalidated only 21% of the

time. Sarah Burstein & Saurabh Vishnubhakat, The Truth About Design Patents, 71

AM. U. L. REV. 1221, 1271-1276 (2022).




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      In contrast, from 2003 to 2013 utility patent obviousness determinations in

United States District Courts increased from 27% to 46% and nonobviousness

determinations decreased from 69% to 48%. Ryan T. Holte & Ted Sichelman,

Cycles of Obviousness, 105 IOWA L. REV. 107, 141 (2019). Further, of the 17,440

claims on which the PTAB issued an institution decision in FY22, it instituted IPR

or PGR as to 10,045 (58%), and of the 7,024 claims on which the PTAB issued a

determination of patentability in AIA proceedings in FY22, it found 5,371 (76%) of

those claims unpatentable.4 PTAB Trial Statistics, FY22 End of Year Outcome

Roundup      IPR,    PGR,      at    14    (https://www.uspto.gov/sites/default/files/

documents/ptab__aia_fy2022_roundup.pdf). Again, it is highly unlikely that the

difference in patent challenge success rates can be explained on the ground that the

challenged designs are so much more creative and innovative than the utility patents

being challenged. The more likely explanation for this discrepancy is that the rigid

strictures of Rosen-Durling is allowing patents on obvious designs to survive.

      The Rosen-Durling test is contrary to the purpose and spirit of the

constitutional mandate, Section 103, Graham, and KSR. It prohibits courts from

even considering obviousness unless the demanding prerequisite of a single prior art

reference that is “basically the same” as the claimed design is met, restricts prior art


4
  Numerous AIA challenges did not receive an institution decision, and numerous
claims on which AIA challenges were instituted did not receive a determination of
patentability due to settlements, requests for adverse judgment, etc.

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combinations even more strictly than the rejected TSM test, and divorces the

obviousness inquiry from the knowledge and skills of the designer of ordinary skill.

And, it allows patents on obvious subject matter to be obtained and enforced. As

such, it should be eliminated.

C.    THE TEST FOR EVALUATING DESIGN PATENT OBVIOUSNESS SHOULD BE
      BASED ON WHAT AN ORDINARY DESIGNER WOULD ACTUALLY HAVE
      FOUND OBVIOUS.

      In the process of making new designs, designers sometimes exercise ordinary

skill and creativity to create routine, obvious designs; sometimes they go beyond the

routine and create designs that would not have been obvious to an ordinary designer.

Accordingly, the same fundamental principles that must be employed to determine

when that line has been crossed in the utility patent context should be used to

determine when that line has been crossed in the design patent context. Indeed,

factual considerations that may be probative in a utility patent obviousness inquiry

will often also be probative in design patent obviousness inquiries.

      To be clear, this does not mean that every consideration relevant to a utility

patent obviousness analysis would apply to every design patent obviousness

analysis. There are likely differences between every obviousness inquiry, whether

utility or design, and the law of obviousness can and should take account of those

differences. But, whether design or utility patent, the obviousness inquiry must be

done within the framework of KSR. That means inquiring into what an ordinary



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designer would actually have found obvious, not relying on rigid rules that

undermine that inquiry, and certainly not relying on rules, like those in Rosen and

Durling, that prevent even considering the question until exacting prerequisites are

met.

       1.    The Framework Set Forth in Graham as Elaborated Upon in KSR
             Should be Employed to Evaluate Design Patent Obviousness.

       The test for design patent obviousness should follow the “framework for

applying the statutory language of § 103” set forth in Graham as elaborated upon in

KSR:

             Under § 103, the scope and content of the prior art are to
             be determined; differences between the prior art and the
             claims at issue are to be ascertained; and the level of
             ordinary skill in the pertinent art resolved. Against this
             background, the obviousness or nonobviousness of the
             subject matter is determined.             Such secondary
             considerations as commercial success, long felt but
             unsolved needs, failure of others, etc., might be utilized to
             give light to the circumstances surrounding the origin of
             the subject matter sought to be patented.

KSR, 550 U.S. at 406 (quoting Graham, 383 U.S. at 17-18).

       Evaluating design patent obviousness pursuant to Graham and KSR is

appropriate because they set forth a Supreme Court-endorsed method of

distinguishing between obvious and non-obvious subject matter. Applying Graham

to design patents is not a new concept; this Court followed precisely that approach

in Nalbandian. 661 F.2d at 1216-17. Further, prior to the creation of the Federal



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Circuit, most other Circuit Courts of Appeal applied Graham as the standard for

evaluating design patent obviousness. See id. at 1217 (citing cases).

      Nalbandian made clear that the differences between design patents and utility

patents did not render the Graham test unworkable. Id. at 1216-17:

             we do not believe the determination of the level of
             ordinary skill in the art, as required under [Graham],
             cannot be made with respect to designs. Thus, in view of
             the statutory requirement that patents for designs must be
             evaluated on the same basis as other patents, the test of
             Graham must be followed.

To the contrary, Nalbandian observed that “the ‘ordinary designer’ standard has

been found helpful to courts in infringement litigation because of the objective

evidence which can be brought to bear on the question of obviousness under the tests

of Graham.” Id. at 1217.

      2.     The Graham Factors are Relevant to Evaluating Design Patent
             Obviousness.

      It makes sense to evaluate the Graham factors when considering obviousness

of design patents because they are relevant. The scope and content of the prior art

sets forth what would have been known and relevant at the critical date. And

whether evaluating a design patent or utility patent, the differences between the prior

art and alleged invention are critical for evaluating what new matter the named

inventor contributed to the art, and whether that contribution made the invention

novel and non-obvious at the time of its invention. The level of skill in the art is



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also relevant to ascertaining the capability and creativity of an inventor, whether

considering the obviousness of a design or utility patent. And objective indicia of

obviousness or nonobviousness are, by definition, objective indications of whether

a claimed design was obvious or not. See Graham, 383 U.S. at 17-18.

      3.     The KSR Considerations are Also Relevant to Evaluating Design
             Patent Obviousness.

      It also makes sense to evaluate the KSR considerations when evaluating

obviousness of designs because those considerations are also relevant to the inquiry.

Designers, just like scientists and engineers, are influenced by and consider design

incentives and market forces. Appx0372-0373. Designers also combine familiar

elements in common ways or using known methods and are capable of substituting

one known element for another. See Appx1301-1302; Appx0406 (Decl. J. Hill):

             [T]he use of a circular wheel arch is well within the
             knowledge and skill of a designer of ordinary skill, since
             it is the typical shape for forming a wheel arch. Thus,
             substituting a circular wheel arch in place of Lian’s more
             squared wheel arch would have involved nothing more
             than a simple substitution of known elements.

See also Appx0416 (Decl. J. Hill):

             The wheel arch and terminus configuration of the claimed
             design was well-known and conventional in the art,
             rendering the modification trivial and requiring no more
             than the exercise of ordinary skill, particularly in view of
             the clear suggestions of the Hyundai Tucson.




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Designers can make predictable variations on existing designs.                See MRC

Innovations, 747 F.3d at 1334 (modification was obvious even though no prior art

reference disclosed it). Designers can also improve designs in similar ways to how

other similar designs were improved. Designers also follow and iterate on design

trends and fashions. KSR’s prescribed expansive and flexible approach, and most,

if not all, of the considerations the Court identified for determining whether there is

an apparent reason the skilled artisan would have found the claimed invention

obvious are just as applicable to design patents as they are to utility patents. Courts

and tribunals can tailor the evidence and criteria considered as appropriate from case

to case.

      Graham and KSR set out a standard that requires contextual inquiry, not a rule.

That inquiry calls for case-by-case development and the collection of evidence about

what an ordinary designer in a given case would have known, their capabilities, and

what the relevant prior art would have disclosed to them or taught them. That it may

not always be easy to conduct this case-specific analysis is not a basis to apply a

different test. See Graham, 383 U.S. at 18:

             This is not to say, however, that there will not be
             difficulties in applying the nonobviousness test. What is
             obvious is not a question upon which there is likely to be
             uniformity of thought in every given factual context. The
             difficulties, however, are comparable to those encountered
             daily by the courts in such frames of reference as
             negligence and scienter, and should be amenable to a case-
             by-case development. We believe that strict observance

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             of the requirements laid down here will result in that
             uniformity and definiteness which Congress called for in
             the 1952 Act.

      Further, courts have access to a variety of sources of evidence to assist them.

First, the Court can rely on expert testimony. In this case, the uncontradicted record

evidence shows that automotive designers are highly trained professionals with a

wealth of knowledge and creativity. Appx0372-0374 (Decl. J. Hill). They have

knowledge of design trends and engineering constraints relevant to their products.

Appx1453-1455 (Dep. T. Peters at 105:12-107:11). They look to a wide range of

sources and are aware of competitors’ designs. Appx1407-1409 (Dep. T. Peters at

59:21-61:23).    And they are capable of envisioning and applying predictable

variations on certain routinely modified aspects of an automobile’s design, such as

the application of a round wheel arch or a given fender terminus. Appx0406-0407

(Decl. J. Hill), Appx1335-1336 (Reply Decl. J. Hill), Appx1407-1409 (Dep. T Peters

at 59:21-61:23), Appx1451 (Dep. T. Peters at 103:2-103:18).

      Second, just as they do with utility patents, courts can look to design demands

and market pressures to identify an apparent reason why a designer may have found

the claimed design obvious or obvious to try:

      When there is a design need or market pressure to solve a problem and
      there are a finite number of identified, predictable solutions, a person
      of ordinary skill has good reason to pursue the known options within
      his or her technical grasp. If this leads to the anticipated success, it is
      likely the product not of innovation but of ordinary skill and common



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       sense. In that instance the fact that a combination was obvious to try
       might show that it was obvious under § 103.

KSR, 550 U.S. at 421. See also Appx1311-1312 (Reply Declaration of Jason C. Hill,

at ¶ 22):

             Further, there are only a finite number of ways to resolve
             the lower rear end of the fender (terminate at the rocker
             panel, as the claimed design does; proceed straight to the
             bottom of the vehicle; or hook back towards the rocker
             panel, as Lian does). As previously explained, a DOSA,
             and especially one looking to adapt Lian for the United
             States market, would have found it obvious to cause Lian’s
             fender to terminate above the rocker panel to enable the
             use of a darker colored rocker, creating the illusion of
             greater height and ground clearance.

       Third, published empirical evidence sheds light on how ordinary designers

solve problems generally. See Mark P. McKenna & Jessica Silbey, Investigating

Design, 84 U. PITT. L. REV. 127 (2022).          That work reveals several themes.

Designers work with their hands and their minds. They build prototypes and test

models. Iteration, not discovery or revelation, is the primary method of problem-

solving. Designers of ordinary skill in the art generally regard their work as building

upon things that came before, and they tend to roam broadly. For many designers,

hewing closely to precedent would be an incomplete process that is unlikely to

produce good design.        Designers describe a regular and expected practice of

borrowing and taking inspiration from a wide range of fields and objects. Id.




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Evidence of this sort can help courts understand what would have been obvious to

an ordinary designer.

       Fourth, when considering whether a design is obvious, courts should not

confine themselves to the prior art references themselves, but may look to a variety

of reasons designers might have found the design obvious. See KSR, 550 U.S. at

418:

             Often, it will be necessary for a court to look to interrelated
             teachings of multiple patents; the effects of demands
             known to the design community or present in the
             marketplace; and the background knowledge possessed by
             a person having ordinary skill in the art, all in order to
             determine whether there was an apparent reason to
             combine the known elements in the fashion claimed by the
             patent at issue.

       4.    The Arguments for Rigid Design Patent Obviousness Rules Are
             Unpersuasive.

       The arguments advanced in support of rigid rules for the design patent

obviousness analysis misunderstand the nature of design, rely upon other incorrect

premises, and, even if they were accurate, they do not justify applying rigid

restrictions on the analysis. For example, the argument that designs are different

than utility patents because “[o]rnament is in the eyes of the beholder [whereas]

[f]unctional utility is objective,” Dkt. 48, at ECF 18, mischaracterizes most design

patent subject matter, which often has functional considerations.               See, e.g.,

Appx1319 (J. Hill Reply Decl. at ¶ 34) (explaining the functional considerations and



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constraints on the design of door cut lines); Appx1335-1336 (J. Hill Reply Decl. ¶¶

57-58 (explaining engineering and functional constraints affecting the shape of a

fender’s lower rear terminus, and explaining that cutting a fender terminus above a

dark-colored rocker achieves an aesthetic function of creating the illusion of a

vehicle that appears higher). 5 It also trivializes the design process, suggesting that

there are no standards or principles designers use. As the record establishes, the

ordinary automobile designer is a skilled and trained professional that analyzes

designs in rigorous and coherent ways. Appx0372-0374; Appx1302. The record

further demonstrates that design elements can have objective effects. For example,

certain automotive features draw the eye in certain ways. Appx1334-1335.

      This Court’s predecessor and others have already rejected the view that design

is nothing more than appearance and that no special skill is required to determine

what things look like. See Nalbandian, 661 F.2d at 1216 (citing In re Laverne, 356

F.2d 1003, 1006 (C.C.P.A. 1966)) (citing cases); see also Hadco Prods., Inc. v.

Walter Kidde & Co., 462 F.2d 1265, 1271-74, (3d Cir. 1972) (vacating a district

court decision whose “reasoning and conclusion on [obviousness] were actually

based on subjective visual impressions,” insisting that the analysis focus on common

practices and design features in the field). Regardless, whether design is in the “eyes



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  L.A. Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d 1117, 1123 (Fed. Cir. 1993)
(design not functional unless dictated by function).

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of the beholder” and not “objective” is no basis for imposing rigid rules on the

obviousness inquiry.

      Similarly, the argument that the considerations discussed in KSR cannot apply

to design patents because “designs cannot have unexpected properties,” see Dkt. 48,

at ECF 18 (“And what is an unexpected property in the context of design patents,

for it must be related to ornament, as function is not to be considered in evaluating

obviousness of a design?”), is factually incorrect and, even if true, would not justify

imposing rigid rules on the obviousness inquiry. To say something has unexpected

properties in the utility patent context is simply a way to suggest that a person of

ordinary skill in the art would not have realized the properties of a combination

before it was combined. The same can be true of many designs where their appeal

would not have been recognized before it was created. See, e.g., Sarah Burstein,

Costly Designs, 77 OHIO ST. L. J. at 136-37 (2016) (describing the critical acclaim

and unexpected innovation of the Louis Ghost chair, a chair reminiscent of an old

design, the Louis XVI chair, “but stylized and rendered in clear plastic[.]”). And,

again, even if designs did not have unexpected properties, that is not basis for

imposing rigid rules on the obviousness inquiry.

      Finally, arguments that unshackling the Section 103 inquiry from Rosen’s

primary reference requirement would allow challengers to pick and choose visual

elements from the prior art and combine them without regard for whether a designer



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would have found that combination obvious are premised upon a fundamental

misunderstanding of the KSR test, and are reminiscent of the arguments raised in the

lead-up to KSR against eliminating the TSM test. Applying KSR would not result in

design patents being invalidated based on haphazard combinations of prior art

elements because KSR itself rejects such patchwork approaches to obviousness. See

KSR, 550 U.S. at 418-19:

            As is clear from cases such as Adams, a patent composed
            of several elements is not proved obvious merely by
            demonstrating that each of its elements was,
            independently, known in the prior art. Although common
            sense directs one to look with care at a patent application
            that claims as innovation the combination of two known
            devices according to their established functions, it can be
            important to identify a reason that would have prompted
            a person of ordinary skill in the relevant field to combine
            the elements in the way the claimed new invention does.

(emphases added) (referencing United States v. Adams, 383 U.S. 39 (1966)). KSR

does not permit haphazard and unjustified grounds for obviousness in utility patent

cases, and it would not permit such approaches in design patent cases. See, e.g.,

Apple Inc. v. MPH Techs. Oy, 28 F.4th 254, 262 (Fed. Cir. 2022) (affirming the

PTAB’s finding of nonobviousness where expert testimony lacked a reasonable

explanation to support a claim of obviousness); InTouch Techs., Inc. v. VGO

Commc’ns, Inc., 751 F.3d 1327, 1353–54 (Fed. Cir. 2014) (reversing obviousness

determination because no meaningful explanation for why a POSITA would have




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made combination); In re Vaidyanathan, 381 F. App’x 985, 994–95 (Fed. Cir. 2010)

(same).

      There is no magic test that will automatically distinguish obvious designs

from nonobvious designs, just as there is not for utility patents. And under KSR

there should not be one. But that does not mean courts are entirely adrift at sea. Nor

does it mean that every aspect of utility patent doctrine will translate to design

patents. Rather, courts will do with design patents what they successfully do with

utility patents: apply flexible principles to determine what the DOSA would have

found obvious.

D.    NO PRECEDENT FROM THIS COURT HAS SUCCESSFULLY CLARIFIED THE
      ROSEN-DURLING TEST NOR HAS ANY PRECEDENT FROM THIS COURT
      RESOLVED THE RELEVANT ISSUES OF THIS CASE.

      This Court has not regularly relied upon Rosen-Durling to sustain the validity

of design patents. Accordingly, it is wrong to suggest that this Court has implicitly

rejected LKQ’s argument that KSR abrogated or overruled Rosen-Durling. And, in

those few cases where the Federal Circuit did rely upon Rosen-Durling to sustain

the validity of a design patent, the patent challenger did not challenge the Rosen-

Durling test.

      Except for the instant appeal and its companion case and not counting any

summarily affirmed cases, this Court has issued opinions in design patent

obviousness cases only fourteen times since the Supreme Court’s KSR decision in



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2007.6   Only ten of those cases turned on application of the Rosen-Durling

framework.7 And in six of those cases obviousness was found even under the Rosen-

Durling framework because they were the rare cases where the primary references

only varied in trivial ways from the patented design.8 In only three cases has the

Court found nonobviousness based upon the requirements of Rosen-Durling. Each


6
   Titan Tire, 566 F.3d 1372 (Fed. Cir. 2009); Int’l Seaway Trading Corp. v.
Walgreens Corp., 589 F.3d 1233, 1240 (Fed. Cir. 2009); Apple, Inc. v. Samsung
Elecs. Co., 678 F.3d 1314, 1330 (Fed. Cir. 2012); In re Owens, 710 F.3d 1362, 1369
(Fed. Cir. 2013); High Point Design LLC v. Buyers Direct, Inc., 730 F.3d 1301, 1313
(Fed. Cir. 2013); MRC Innovations, 747 F.3d at 1331-38; 3form, Inc. v. Lumicor,
Inc., 678 F. App’x 1002, 1010 (Fed. Cir. 2017); Kolcraft Enterprises, Inc. v. Graco
Children’s Prod., Inc., 927 F.3d 1320, 1326 (Fed. Cir. 2019); Campbell Soup Co. v.
Gamon Plus, Inc., 939 F.3d 1335, 1339-42 (Fed. Cir. 2019) (“Campbell Soup I”);
Spigen Korea Co. v. Ultraproof, Inc., 955 F.3d 1379, 1383 (Fed. Cir. 2020); Sealy
Tech., LLC v. SSB Mfg. Co., 825 F. App’x 795, 799-800 (Fed. Cir. 2020) (“Sealy
I”); Sealy Tech., LLC v. SSB Mfg. Co. 825 F. App’x 801, 805-06 (Fed. Cir. 2020)
(“Sealy II”); Campbell Soup Co. v. Gamon Plus, Inc., 10 F.4th 1268, 1276 (Fed. Cir.
2021) (“Campbell Soup II”), cert. denied, 142 S. Ct. 1129 (2022); Golden Eye Media
USA, Inc. v. Evo Lifestyle Prod. Ltd., No. 2021-2096, 2022 WL 2232517, at *3 (Fed.
Cir. June 22, 2022).
7
  In Int’l Seaway, the Court did not rule substantively on obviousness because the
district court had not made its summary judgment decision based on obviousness.
589 F.3d at 1240. In Owens, the priority of the patent application was at issue; not
the substance of the USPTO’s obviousness rejection. 710 F.3d at 1369. In, Kolcraft,
the conception date and priority of the design patents were at issue and the PTAB’s
substantive obviousness analysis was expressly not disputed. 927 F.3d at 1326. And
Campbell Soup II concerned secondary indicia of nonobviousness; not the PTAB’s
application of the Rosen-Durling framework, which had already been addressed in
Campbell Soup I. 10 F.4th at 1276.
8
  MRC, 747 F.3d at 1331-38 (nearly identical dog jerseys); 3form, 678 F. App’x at
1010 (nearly identical reed patterns); Campbell Soup I, 939 F.3d at 1339-42 (nearly
identical soup can display); Sealy I, 825 F. App’x at 799-800 (nearly identical
mattresses); Sealy II, 825 F. App’x at 805-06 (same); Golden Eye, 2022 WL
2232517, at *3 (nearly identical grocery bags).

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of those cases was a reversal of a district court decision that had found obviousness

even under the Rosen-Durling test. See, Apple, 678 F.3d at 1322; High Point, 730

F.3d at 1304 (in which the lower court further confused the Rosen-Durling test based

on reliance on Int’l Seaway); Spigen, 955 F.3d at 1382. The patent challengers in

those cases understandably did not challenge the standard for design patent

obviousness under which they had already prevailed. As a result, this Court was not

faced with the question of whether the Rosen-Durling standard survived KSR.

         Only once, in Titan Tire, has the Court considered whether KSR applied to

design patents. Ultimately the Court held that it was unnecessary to resolve this

issue because the patent-in-suit was obvious even under Rosen-Durling. Titan Tire,

566 F.3d at 1385. But the Court noted that KSR may apply to design patents. Id. 9

         As such, with the possible exception of MRC Innovations, no precedent from

this Court has already taken steps to clarify the Rosen-Durling test. And MRC

Innovations’ clarification of the Rosen-Durling test is limited to the suggestion that

the first step of Rosen-Durling—requiring determination of the “correct visual

impression created by the design as a whole be determined”—only places a burden

on a lower court or tribunal to explain its reasoning rather than placing a burden on

the patent challenger to undertake a formal verbal claim construction.           MRC




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    The primary reference in Titan Tire was nearly identical to the claimed design.

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Innovations, 747 F.3d at 1332. Neither MRC Innovations nor any other case has

taken steps to clarify the Rosen-Durling test.

E.    FAITHFULLY APPLYING SUPREME COURT PRECEDENT WOULD NOT
      INCREASE UNCERTAINTY IN AN OTHERWISE SETTLED AREA OF LAW.

      Correcting the design patent obviousness test to align it with KSR would not

increase uncertainty in an otherwise settled area of law. But even if it did, that would

not be a proper basis to continue to adhere to a rule that does not achieve its

constitutionally-prescribed objective.

      1.     The Rosen-Durling Test is Rife with Uncertainty and Causes
             Confusion.

      While the articulation of the Rosen-Durling test may be settled, how it has

been applied, as shown below, is far from settled and whether it can be satisfied is

far from certain. In sum, it arguably requires (and was required in this case)

clairvoyance in how the court may discern the overall visual impression, something

that litigants can rarely divine with certainty. It requires prediction of whether a

court will “almost instinctively” find a prior art reference meets a vague basic

similarity requirement, whether secondary references meet an undefined relatedness

requirement, Durling, 101 F.3d at 103, and, in the event those hurdles can be cleared,

whether and when remaining differences between the combination and the patented

design prevent a finding of obviousness. Those rules cannot produce reasonable

certainty for the parties or guidance for future litigants. On the other hand, using the



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KSR approach will reduce uncertainty and increase accuracy by aligning the standard

for design patents with that for utility patents and the knowledge and skills of

ordinary designers.

                      a.   Durling ’s Claim Construction Requirement Causes
                           Uncertainty.
      Durling’s apparent requirement that a patent challenger “discern the correct

overall visual impression created by the patented design,” Durling, 101 F.3d at 103,

also known as “Durling Step One,” causes uncertainty and demonstrates current law

has not been settled.

      Durling reversed a district court determination of obviousness for failure to

“evoke a visual image consonant with the claimed design” and “focusing on the

design concept” of the claimed design. 101 F.3d at 104. However, in Egyptian

Goddess, this Court acknowledged the Supreme Court’s recognition that “a design

is better represented by an illustration than it could be by any description and a

description would probably not be intelligible without the illustration.” 543 F.3d

665, 679 (Fed. Cir. 2008) (quoting Dobson v. Dornan, 118 U.S. 10, 14 (1886))

(cleaned up). Thus, this Court discouraged detailed verbal descriptions of claimed

designs and cautioned against “the risks entailed in such a description, such as the

risk of placing undue emphasis on particular features of the design.” Id. at 679-680.

Nevertheless, in High Point, decided two years after Egyptian Goddess, this Court

continued to interpret Durling to demand a detailed claim construction, finding that


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the district court erred by describing the claimed design at “too high a level of

abstraction” and remanding with instructions to “add sufficient detail to its verbal

description of the claimed design to evoke a visual image consonant with that

design.” 730 F.3d at 1314. Then, contributing to the confusion, this Court held in

MRC Innovations that no detailed verbal description was needed, and it was enough

for it to be “clear from the district court’s opinion what it considered to be the

relevant design characteristics” of the claimed design. Id. at 1332. Nevertheless,

the Board in this case determined that a purported failure to correctly construe the

claimed design warranted rejection of LKQ’s petition. The ongoing uncertainty

regarding whether a detailed verbal claim construction is required demonstrates that

the current law is not settled.

                    b.     The Rosen Reference Requirement is Confusing and
                           Incites Arbitrary and Inconsistent Decisions.
      The Rosen reference requirement also creates uncertainty. It has never been

clear how similar a reference must be to be considered ‘basically the same’ as the

claimed design—i.e., how similar it must be to be deemed a proper primary

reference. Sarah Burstein, Is Design Patent Examination Too Lax?, 33 Berkeley

Tech L.J. 607, 617 n.44 (2018). In fact, as explained in §B.2.e, above, it is not even

clear to what extent “basic similarity” for obviousness is different than “substantially

similarity” for anticipation.




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      The below cases are illustrative of how, applying Rosen-Durling, this Court,

its predecessors and the PTAB have found less similar prior art to be sufficient in

some cases, while more similar prior art was rejected in others. Specifically, this

Court’s predecessor in Carter found the primary reference and claimed infant

garment design “nearly identical” even though the primary reference had a

differently shaped flap, a differently cinched waistband, and different end portions

to the waistband. In re Carter, 673 F.2d 1378, 1380 (C.C.P.A. 1982). Yet in Apple

v. Samsung, this Court held that the primary reference was not “basically the same”

as the claimed design because the prior art had “noticeable differences” versus the

claimed design, specifically perforations on the frame corner, wider bottom edges of

the tablet, and contrasts between the frame surrounding the screen and the screen

itself. 678 F.3d at 1331. It is unclear why the differences were found to be de

minimis in one case yet material in another.       And, as seen below, the same

inconsistency can be seen in several court and PTAB decisions:




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     FINDING OBVIOUSNESS                     FINDING NONOBVIOUSNESS
          In re Carter,                   Apple, Inc. v. Samsung Elecs. Co.,
 673 F.2d 1378 (C.C.P.A. 1982)             678 F.3d 1314 (Fed. Cir. 2012)
       CLAIMED DESIGN                                CLAIMED DESIGN




ACCEPTED PRIMARY REFERENCE                REJECTED PRIMARY REFERENCE


 ✔                                                                         ✘

                                          Para Gear Equipment Co., Inc. v.
 Petersen Mfg. Co., Inc. v. Cent.
                                            Square One Parachutes, Inc.,
        Purchasing, Inc.,
                                          No. 04 C 0601, 2005 WL 2266618
 740 F.2d 1541 (Fed. Cir. 1984)
                                              (N.D. Ill. Sept. 14, 2005)
                                                                  REJECTED
       CLAIMED DESIGN                    CLAIMED DESIGN            PRIMARY
                                                                  REFERENCE




ACCEPTED PRIMARY REFERENCE                                                 ✘
✔


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                                                Vanguard Identification Sys. Inc. v.
 Black & Decker, Inc. v. Pittway Corp.,            Patent of Bank of America,
   636 F. Supp. 1193 (N.D. Ill. 1986)           Appeal No. 2009-002973, 2009 WL
                                                2342053 (B.P.A.I. July 31, 2009)10
             CLAIMED DESIGN                                CLAIMED DESIGN




      ACCEPTED PRIMARY REFERENCE                REJECTED PRIMARY REFERENCES


       ✔                                        ✘                                ✘
     LKQ Corp. et al. v. GM Global Tech.    LKQ Corp. & et al. v. GM Global Tech.
             Operations LLC,                         Operations LLC,
       IPR2020-00064, April 21, 2020          PGR2020-00020, February 7, 2020
             CLAIMED DESIGN                             CLAIMED DESIGN
                                                (Only the outer bezel was claimed)




      ACCEPTED PRIMARY REFERENCE                 REJECTED PRIMARY REFERENCE


       ✔                                                                         ✘


10
  Aff’d sub nom Vanguard Identification Sys., Inc. v. Kappos, 407 F. App’x 479
(Fed. Cir. 2011)

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        The arbitrariness of the results under the Rosen rule are no surprise—the rule

calls on courts to determine “almost instinctively” whether the designs are basically

the same. As evidenced by the illustrations above, instinctive evaluations cannot

produce certainty for the parties who are affected by the law. When a court decides

something instinctively, it does so automatically or intuitively, not based on settled

principles. And it cannot articulate the reasons for that decision in a way that

provides guidance to future litigants.

                     c.     Durling ’s Restriction of Prior Art Combinations to “So
                            Related” References Causes Further Uncertainty.
        It is also unclear what is required to satisfy the “so-related” test. In Borden,

the court held that similarities in product type and configuration supported

combining its primary and secondary prior art references and supplying the “two

specific design elements that would convert the [primary] reference into [the]

claimed design.” 90 F.3d at 1575-76. However, in MRC Innovations, this Court

suggested that it was “mere similarity in appearance that itself provides the

suggestion that one should apply certain features to another design.” 747 F.3d at

1334.     Few decisions have meaningfully addressed the question because, as

previously noted, design patent validity challenges rarely survive the Rosen

reference requirement, and when they do, the primary reference is already so near-

identical to the claimed design that they need little from secondary references. See

n. 8, supra; see also Sarah Burstein, Is Design Patent Examination Too Lax?, at 616.


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Thus, interpretation of Durling Step Two is not settled, causing further uncertainty.

See, e.g., Dkt. 48 at ECF 30 (“Additional rigidity that might not be appropriate in a

post-KSR world arguably exists at step two of the Durling test) (emphasis added).

                   d.      The Ultimate Determination of Obviousness under the
                           Rosen-Durling Test Causes Further Uncertainty.

      In addition to confusion surrounding the Rosen-Durling test’s constituent

steps, further confusion is evident even within this Court regarding how to finally

evaluate obviousness under the test. In Durling, the court stated that after a primary

reference is found, “other references may be used to modify it to create a design

that has the same overall visual appearance as the claimed design.” 101 F.3d at

103 (emphasis added). Durling arguably suggested that, to establish obviousness,

the challenger must modify the primary reference until the resulting design has the

same overall visual appearance as the claimed design. However, this Court’s

subsequent precedents are contradictory.

      In International Seaway, this Court rejected the argument that “the test for

invalidity due to obviousness is whether a designer of ordinary skill in the art would

have found the patented design, as a whole, obvious in light of the prior art,” and

instead stated:

             For design patents, the role of one skilled in the art in the
             obviousness context lies only in determining whether to
             combine earlier references to arrive at a single piece of art
             for comparison with the potential design or to modify a
             single prior art reference. Once that piece of prior art has


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             been constructed, obviousness, like anticipation, requires
             application of the ordinary observer test, not the view of
             one skilled in the art.

589 F.3d at 1240. The International Seaway court thus unambiguously stated that

the final determination of obviousness required comparison of the modified prior art

reference with the claimed design via the ordinary observer test. Then, four years

later, in High Point, when the district court appended the ordinary observer test in

the manner International Seaway instructed, this Court reversed for failing to apply

the correct standard. 730 F.3d at 1313.

      MRC Innovations then held that a claimed design was obvious even though a

feature was not disclosed by any prior art reference. 747 F.3d at 1335. This Court

suggested that holding was supported by precedent including Nalbandian, 661 F.2d

at 1217, a pre-Rosen case decided entirely under Graham, and In re Cooper, 480

F.2d 900, 901-02 (C.C.P.A. 1973), a pre-Nalbandian case decided under the

C.C.P.A.’s prior “ordinary intelligent man” test. The MRC Innovations court found

that, “adding ornamental surge stitching on top of a preexisting seam was an

insubstantial change that would have been obvious to a skilled designer.” Id.

However, MRC never specified whether it was the fact that the change was

insubstantial or that the change was obvious to a skilled designer that made the

claimed design obvious despite the lack of that feature in the prior art references.




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         Thus, even the final test to be applied under the Rosen-Durling test has not

been settled, is uncertain and the subject of confusion.

         2.     Settled Expectations Do Not Justify Ignoring the Supreme Court’s
                Mandate.

         Even if applying KSR to design patents upsets some settled expectations, that

is not a reason not to follow Supreme Court precedent. Legal doctrine regularly

changes as appellate courts correct errors from a prior era—particularly those

involving rigid tests. The Supreme Court has continuously implemented major

changes in patent law, overturning prior tests as needed.         For example, KSR

overturned the rigid application of the TSM test even though it had been used for

over 50 years.11 See also, e.g., eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388,

393 (2006) (rejecting an at least 24-year-old presumption in favor of a permanent

injunction in favor of a flexible application of the traditional four-factor equitable

principle analysis); Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 901

(2014) (abrogating the 13-year-old Federal Circuit tests for patent indefiniteness in

favor of a flexible “reasonable certainty” test); Octane Fitness, LLC v. ICON Health

& Fitness, Inc., 572 U.S. 545, 553-55 (2014) (abrogating the nine-year-old rigid

Federal Circuit test for “exceptional” cases for the purposes of awarding attorneys’

fees); Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 109 (2016) (abrogating the



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     See note 1, infra.

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nine-year-old, two-part Federal Circuit test for assessing treble damages because it

was too rigid and inconsistent with Section 284 of the Patent Act). And, the last

time this Court decided a design patent case en banc, it overturned long-standing

precedent. Egyptian Goddess, 543 F.3d at 671 (abrogating the formal point of

novelty test for design patent infringement that had stood for over 40 years)

      Indeed, when this Court has focused on settled law as a reason to uphold a

previous decision at odds with Supreme Court precedent or the language of the

statute, it has been overturned by the Supreme Court. See, e.g., Octane Fitness, LLC,

572 U.S. at 553-55. When this Court has instead favored Supreme Court precedent

over its own longstanding precedent, as in Egyptian Goddess, it has avoided reversal,

543 F.3d at 671, cert. denied Egyptian Goddess, Inc. v. Swisa, Inc., 556 U.S. 1167

(2009).

      The Supreme Court’s decision in Festo Corp. v. Shoketsu Kinzoku Kogyo

Kabushiki Co. admonished courts to be “cautious before adopting changes that

disrupt the settled expectations of the inventing community.” 535 U.S. 722, 739

(2002) (citing Warner-Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17, 28

(1997)). But Festo itself changed the law established by the Supreme Court in

Warner-Jenkins creating a presumption in favor of prosecution history estoppel.

Rosen and Durling are not Supreme Court decisions. And KSR made no mention of




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overturning decades of Federal Circuit precedent on which patentees had certainly

relied.

          As shown above, when courts have strong reasons to change the law, they do

so regardless of whether some temporary uncertainty might result. Strong reasons

exist here to eliminate the Rosen-Durling test. The constitutional and statutory

limitation, and the opinion of the Supreme Court, are clear – patents on non-

innovative, obvious subject matter must not be allowed, an expansive and flexible

approach to the obviousness inquiry must be used, and rigid rules cannot be used to

undermine that inquiry. The writing has been on the wall for the Rosen-Durling test

since 2007, and certainly since this Court noted in Titan Tire that KSR may apply to

design patents. Titan Tire Corp., 566 F.3d at 1384-85. The fact that numerous cases

might be differently decided if the Court applies the law of obviousness correctly is

no reason not to do it.

F.        THE DIFFERENCES BETWEEN DESIGN PATENTS AND UTILITY PATENTS DO
          NOT WARRANT ANY DIFFERENCE IN THE FUNDAMENTAL PRINCIPLES
          APPLIED TO DETERMINE IF A CLAIMED DESIGN WAS OBVIOUS.

          The differences between design patents and utility patents do not necessitate

or warrant applying a change in the fundamental principles that anchor the

obviousness analysis, and certainly not in a manner that leads to a lower patent

validity bar.




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      Two apparent differences between design and utility patents are (1) design

patents cover ornamental designs rather than useful inventions, and (2) design

patents are claimed via images rather than words. However, neither of these

distinctions necessitate or suggest that the fundamental principles governing the

obviousness analysis should differ.

      First, as to the argument that different fundamental obviousness principles

should apply to design patents because they “cover different things,” that argument

sets forth a distinction without a difference. Design patents are still subject to the

constitutional and statutory prohibitions on obtaining patents on obvious subject

matter, the fundamental principle that rigid rules cannot be used to undermine those

prohibitions still applies, and nearly every Circuit has rejected the notion that the

approach set forth in Graham cannot apply to design patents. See, e.g., G.B. Lewis

Co. v. Gould Prods., Inc., 436 F.2d 1176, 1178-79 (2d Cir. 1971) (applying the

Graham factors to analyze design patent obviousness); Hadco Prods., 462 F.2d at

1269 (same); Fields v. Schuyler, 472 F.2d 1304, 1305-06 (D.C. Cir. 1972) (same);

Schnadig Corp. v. Gaines Mfg. Co., Inc., 494 F.2d 383, 389-90 (6th Cir. 1974)

(same); Sidewinder Marine, Inc. v. Starbuck Kustom Boats & Prods., Inc., 597 F.2d

201, 209-11 (10th Cir. 1979) (same).        Even the C.C.P.A., just a year before

developing its Rosen requirement, aligned itself with the majority of Circuits by




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discontinuing reliance on its prior ordinary intelligent man test for nonobviousness

and applying Graham. Nalbandian, 661 F.2d at 1216-18.

      Further, Nalbandian made clear that the differences between design patents

and utility patents did not render the Graham test unworkable. Id. at 1216-17:

             In any event, we do not believe the determination of the
             level of ordinary skill in the art, as required under
             [Graham], cannot be made with respect to designs. Thus,
             in view of the statutory requirement that patents for
             designs must be evaluated on the same basis as other
             patents, the test of Graham must be followed.

To the contrary, Nalbandian observed that “the ‘ordinary designer’ standard has

been found helpful to courts in infringement litigation because of the objective

evidence which can be brought to bear on the question of obviousness under the tests

of Graham.” Id. at 1217. Thus, arguments that the subject matter of design patents

is so “fundamentally different” than that of utility patents that the same fundamental

principles and approach demanded by the Supreme Court cannot be applied to both

relies upon ipse dixit.

      Second, the suggestion that design patents should be analyzed for obviousness

differently because they are claimed differently does not withstand scrutiny. This

consideration does not prevent applying the approach set forth in Graham and the

fundamental principles prescribed in KSR and only underscores the importance of

avoiding rigid rules that frustrate the obviousness inquiry. With the assistance of

design experts, courts and litigants would have no peculiar difficulty in comparing


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image-based design patent claims with prior art designs in the manner required by

Graham and KSR just as they had been doing under Graham before the Rosen-

Durling test.

      And the importance of applying a flexible approach to ensure obvious design

patents are not obtained and enforced is reinforced by another difference between

design and utility patents: available remedies. Unlike utility patents, a finding of

design patent infringement, without any enhancement, awards the patent owner the

infringer’s total profits. 35 U.S.C. § 289. In the wake of the astonishing damages

award in Apple v. Samsung, the combination of low procurement costs, virtually

nonexistent examination by the USPTO, and massive potential rewards, the results

have been predictable: an exponential increase in the number of design patents being

obtained in certain industries as demonstrated by the below illustration of the number

of design patents obtained by GM over the last century:




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See, e.g., Amended Complaint for Declaratory Judgment of Patent Non-

Infringement and Invalidity, LKQ Corp. et al. v. General Motors Co., et al., 1:20-

cv-02753, Dkt. 34, at 6 (Aug. 28, 2020). They have used these patents not to

promote the constitutional purpose of encouraging invention, but to monopolize the

secondary market for repair parts, thus extracting further profits from their customers

when they need to repair their cars, as well as from society at large when the higher

cost of repairs causes vehicles to be totaled more frequently, raising insurance

premiums across the board.12 And, this practice is inconsistent with consumers’



12
   See Sarah Burstein, Costly Designs, 77 OHIO ST. L. J. at 117-124, 128-29, 137-141
(arguing that while design patents on replacement parts such as vehicle fenders are
allowed because of prevailing validity laws and desirable because of low cost and


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expectations that they will be able to repair their major purchases without having to

exclusively go to the original manufacturer to obtain repair parts. Thus, it is critical

that patents on obvious designs not be allowed.

      Not every fender, hood, bumper, or trim piece that enters production at a GM

factory has a design that is so innovative as to merit a patent monopoly. See KSR,

550 U.S. at 427 (“the results of ordinary innovation are not the subject of exclusive

rights under the patent laws. Were it otherwise patents might stifle, rather than

promote, the progress of useful arts.”) (citing U.S. Const. art. I, § 8, cl. 8). However,

hamstrung by the restrictive Rosen-Durling test, neither the USPTO, nor the PTAB,

nor the courts, can fully enforce Section 103’s prohibition. KSR cautioned that

“[a]pplication of the bar [on patents claiming obvious subject matter] must not be

confined within a test or formulation too constrained to serve its purpose.” Id. The

Rosen-Durling test, however, is even more restrictively confining than the TSM test

that the Supreme Court struck and, thus, must be eliminated.



total profit damage potential, they have “low or negative social value” because they
involve “little or no visual invention” and that they “merely provide[] a windfall to
the car’s manufacturer”); Christopher Buccafusco, Mark A. Lemley, & Jonathan S.
Masur, Intelligent Design, 68 DUKE LAW JOURNAL 75, 114-18 (2018) (noting that
the design patent validity and the USPTO’s practice thereof does not create a “costly
screen” for design patents and instead makes them a lucrative form of property in
exchange for little social value); Crouch at 12, 18-23 (finding that design patents
have an unusually high allowance rate and unusually short pendency in prosecution
as the result of a “sub silento [sic] abdication of [the USPTO’s] gatekeeper
function”).

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                                 CONCLUSION

      This Court should overrule Rosen and Durling, vacate the decision of the

PTAB, and remand with instructions to apply a flexible test based on KSR and

evidence of how the designer of ordinary skill in the art would actually approach an

invention.


Dated: August 14, 2023                      Respectfully submitted,

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